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CaSe'lS 10402 SDIBN giles UNIT'ED sTATEs BANKRUPTCY CoURT g

FOR THE SOUTHERN DISTRIC'I` OF GEORGIA

Fiil in this information to identity your case:
Debtor l Fred B. Johnson, Jr.
First Nalne Middlc Name Las| Name

Debtor 2 [: Check if this is an amended plan.

 

(Spouse' if H]ing) I-`irst Name Middie Naine Last Name

Case number 18-10402
(If lcnown)

 

 

 

Chapter 13 Pian and Motion

[Pursuant to Fed. R. Bankr. P. 3015_1, the Southern District ofGeorgia General Order 2()§7-3 adopts this form in lieu ofthe Official l~`orm l E3].

1. Notices. Debtor(s) must check one box on each line to state whether or not the pEan includes each of the following items. If an item
is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be ineffective if set out in
the plan.

(a) `i`his [E contains nonstandard provisions See paragraph 15 below.
Pl&n! 13 does not contain nonstandard provisions

(b) This §§ values the claim(s) that secures collateral. See paragraph 4(f) below.
pl'dUI ]:§ does not value claim(s) that secures coliateral.

(c) This ij seeks to avoid a lien or security interest See paragraph 8 below.
platt [§ does not seek to avoid a lien or security interest.

2. Pian Payments.

(a) The Debtor(s) shal§ pay to the Chapter 13 Trustee (the “"i`rnstee”) the sum of 5850.00 for the appiicable commitment period of:

l:`§ 60 months: or

§ a minimum of36 months. Sce ll U.S.C. § l325(b}(4),

{b) The payments under paragraph Z(a) shail be paid:

l:i Pursuant to a Notice to Cornmence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice{s} upon the
Debtor's(s') employer(s) as soon as practicab§e after the filing of this plan. Such Notice(s) shal§ direct the Debtor's(s')
employer{s) to withhold and remit to the Trustee a doilar amount that corresponds to the following percentages of the
monthly plan payment:

ft Deworr % [:] Debmr 2 %

§§ Direct to the Trustee for the foliowing reason(s):

§§ The Debtor(s) recei\»'e(s] income solely from self-einployment, Social Security, government assistance or
retirement

§ 'l"he Debtor{s} assert(s) that wage withholding is not feasible for the following reason(s):

 

{c) Addit'ional Payrnents of §§ {estimated amount) witt be made on , (anticipated date) from (sonrce, including income tax
refunds}.
3. Long-'i`errn Debt Payments.

(a} Maintenance of Current lnstailment Payments. The Debtor{s) wil§ make monthly payments in the manner specified as follows on the
following long-term debts pursuant to ll U.S.C. § 1322(b)(5). "i`hcse postpetition payments will be disbursed by either the 'l`rustee or
direct§y by the Debtor(s), as specified be§ow. Postpetition payments are to be applied to postpetition amounts owed for principa§,
interest, authorized postpetition late charges and escrow, if applicable Condnit payments that are to be made by the Trustee which

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become due after the filing of` the petition but before the month of the first payment designated here will be added to the prepetition
arrearage claim.

PAYMENTS TO
M_ADE B\{ lNl'i`iAL
PRlNClP/-\L ('[`RUST£E OR MONTH OF FIRST POSTPETITION MONTHLY
CREDITOR COLLATERAL RESEDENCE (YfN) DEBTOR(S)) PAYMENT TO CR_EDITOR PAYMENT

 

-NONE-

(b} Curc ofArrearage on Long-Term Debt. Pursuant to ll U.S.C. § l322(b}(5), prepetition arrearage claims will be paid in full through
disbursements by the `frustee, with interest (if any} at the rate stated below. Prepetition arrearage payments arc to he applied to
prepetition amounts owed as evidenced by the allowed claim.

 

 

lN'fEREST RATE ON
DESCRIPTION OF PRINCIPAL RESIDENCE ES"i`iMATED AMOUNT ARREARAGE (if
CREDITOR COLLATERAL (YfN) OF ARREARAGE applicabi@)
-NONE-
4. Treatrnent of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated otherwise:
(a) Trustee’s Fees. The Trustee percentage fee as set by the United States 'l`rustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to l 1 U.S.C. § 507(a)(2} of $4,500.00.
(c) Priority Claims. Other ll U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the iife ofthe
plan as funds become avaiiable in the order specified by law.
(d) Fully Secured Allowed C|aims. All allowed c§aims that are fully secured shall be paid through the plan as set forth below.
DESCRIPTZON OF
CRBDl'fOR COLLATERAL ESTIMATED CLAll\/i INTEREST RATE MONTHLY PAYMENT
Capita| One motor vehicle 23,000.00 5.50% $200.00
AutolAsce-nsion
CapitallAlS
CNAC)'Drivestar motor vehicle $12,422.00 5.50% $100.00
Financia|
(c) Secured Claims Excluded from II U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. § 1325(3)).

The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a purchase money
security interest in a motor vehicle acquired for the personal use of the Dehtor(s), or (2) incurred within 1 year of the petition date
and secured by a purchase money security interest in any other thing of value. These claims will be paid in full under the plan
with interest at the rate stated below:

 

DESCRIPTION OF
CREDITOR COLLATERAL ES'i`§MATED CLAIl\/l INTER§ST RATE MONTHLY PAYMENT
(f`} Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicab|e. The Debtor(s) move(s) to value the claims partially

secured by collateral pursuant to 11 U.S.C, § 506 and provide payment in satisfaction of those claims as set forth beiow. i`he
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor{s) shal§ attach a certificate of

 

service
DESCRIPTION OF VALUATION OF
CREDITOR COLLATERAL SBCUR_ED CLA§M INTEREST RATE MONTHLY PAYl\/ZENT
Rimtyme Custom all collateral 30 $0 $0
WheelslMagic Whee|
(g) Specia| Treatment of Unsecured Clairns. The foilowing unsecured allowed claims are classified to be paid at 100%
E with interest at % per annum; or [: without interest:

None

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Debtor Fred B. Johnson, Jr. Case number 18-10402
(h}` General Unsecured Claims. Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a Q% dividend or a pro rata share of SD, whichever is
greater.
5. Exeeutory Contracts.
(a) Maintenance of Current Instatlment Payments or Rejection of Executory Contract(s} and/or Unexpired Lease(s).
DESCRIPTlON OF
PRoPERTY/s£nvlcas DISBURSBD BY
CREDITOR AND CONTRACT ASSUMED/R£JECTED MONTHLY PAYMENT TRUSTEE OR DEBTORS
-NONE-
(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.
CRED§TOR ES"i`iMAi`ED ARREARAGE
-NONE-
6. Adequate Protection Payments. The Dehtor(s) will make pre-confirmation lease and adequate protection payments pursuant to ll U.S.C.

§ 1326(a)(1) on allowed claims ofthe following creditors.' [:;‘ Direct to the Creditor; orl:i 'E`o the Trustee

 

 

CREDITOR ADEQUATE PROTEC'l`iON OR LEASE PAYMENT AMOUNT
-NONE-

7. Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of such claim
identified here. See 11 U.S.C. § lOl(l4A). The Trustee will provide the statutory notice of ll U.S.C. § 1302{d) to the foilowing
claimant(s):

CLAIMANT ADDRESS
-NONE-
8. Lien Avoidance. Pursuant to 11 U.S.C. § 522(f`}, the Debtor(s) move(s) to avoid the §ien(s) or security interest(s) of the following

creditor{s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described belo\v. 'f`he plan shall be served on all
affected creditor(s} in compliance with l-`ed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of service

CREDITOR LlEN lDENTIFlCATlON {if known} PROPERTY
-NO N E-

9. Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown below
upon continuation of the pian. The Debtor{s) request(s) that upon confirmation of this plan the stay under ll U.S.C. § 362{a) be terminated
as to the collateral only and that the stay under 11 U.S.C. § i301 be terminated in all respects. Any allowed deficiency balance resulting
from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph 4(h) of this plan if the creditor amends its
previously-tiled, timely claim Within 180 days from entry of the order confirming this plan or by such additional time as the creditor may
be granted upon motion filed within that 180-day period

CREDITOR DESCRIPTION OF CO§.LATERAL AMOUNT OF CLAIM SATISFIED

 

Tit|emax of Georgia motor vehic¥e Fu|| Satisfaction of Debt

10. Retention of Liens. Holders of allowed secured claims shail retain the liens securing said claims to the full extent provided byll U.S.C §
1325(a}(5),

ll. Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are based upon
the best estimate and belief of the Debtor{s). An allowed proof of claim will supersede those estimated claims. ln accordance with the
Bankruptcy Code and Federal Rules of Bankruptcy Procedure objections to claims may be filed before or after confirmation

12. Payment Increases. The Dehtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,after
notice from the Trustee and a hearing if necessary, unless a plan modification is approved

13. Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees. expenscs, or charges disclosed by a creditor pursuant
to Fed. R. Bankr. P. 3002_l(c) unless the Debtor's(s'} plan is modified alter the filing ofthe notice to provide for payment of such fees,
expenses, or charges

14. Service of Plan. Pursuant to Fed. R. Banl<r. P. 3015(d) and General Order 20E7-3, the Debtor(s) shall serve the Chapter 13 plan on the
Trustee and all creditors when the plan is filed with the court, and file a certificate ofservice accordingly. lfthe Debtor(s) seek(s) to limit

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Debtor Fred B. Johnson, Jr. Case number 18-‘10402

 

the amount of a secured claim based on valuation of collateral (paragraph 4(t) above), seek(s) to avoid a security interest or lien (paragraph
8 above}, or seek(s) to initiate a contested matter, the Debtor(s) must serve the pian on the affected creditors pursuant to Fed. R. Bankr. P.
7004. See Fed. R. Bankr. P. 3012(b), 4003(€1}, and 9014.

15. Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth beiow. A nonstandard provision is a
provision not otherwise in this local plan form or deviating frorn it. Nonstanda_rd provisions set out elsewhere in this plan are void.

Ali student loans, including but not limited to US Dept of Educatioanavient, to be paid outside of bankruptcy directiy by Debtor after
deferment

By signing befow, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

,/
pace Marchis,zots 75 H_/,</ :2!:/{/\ hamm

Fred 'B.Jchnson,Jr. ' v \
Debtor 1

 

 

s'eT§Ft'iE. Spires yf/H/
__ ____________________ _”_,._“At£arne crt eDebtor('s)

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IN 'I`HE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION
IN RE: )
)
fired B. _1 ohnson, Jr., ) Chapter 13
De‘otor. ) Case No.: 18-l0402 SDB
l

 

CERTIFICATE OF SERVICE OF CHAPTER 13 PLAN

1 hereby certify that l have this day served upon the following parties a copy of the foregoing
Chapter l3 plan by First Class Mail placing the same in United States l\/[ail with proper postage

affixed thereon to the following addresses:
Denoted with a * on attached Exhibit A.

I hereby certify that l have this day served a copy of the foregoing Chapter l3 plan upon the
following corporations addressed to an Agent or Officer by First Class l\/iail placing the same in

United States Mail with proper postage affixed thereon:

Denoted with a ** on attached Exhibit A.

l hereby certify that l have this day served a copy of the foregoing Chapter 13 plan upon the
following creditors in the manner proscribed by Rule 7004, as the Chapter 13 plan proposes to

modify/alter/avoid their secured status pursuant to paragraph 4(f) or paragraph 8 of the plan:

Denoted with a "'°** on attached Exhibit A.

1 hereby certify that l have this day served a copy of the foregoing Chapter 13 plan upon an officer

of the following insured depository institutions, via Certified Mail :

Denoted with a *"‘** on attached Exhibit A.

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I hereby certify that 1 have this day electronically served the following parties and counsel via
CM/ECF:
Chapter 13 Trustee

 

U.S. Trustee
nat@d; ida t":.r.i/\ 513 ,2013
F-~"“/_=’~":,: """"" aziz-fy
§»r:; ------- \

 

Joseph E. Spires
Bar No. 672271

Ward and Spires, LLC
PO Box 1493

Augusta, Georgia 30903
(706) 724~2640

Wardspires@aol.corn

CaSe:18-10402-SDB DOC#ZG Filed:OS/lB/l

Label Matrix for local noticing
123J-1

Case 10-10402~803

Southern District of Georgia
Augusta

Thu Mar 15 14:43:03 EDT 2018

CNAC dba Drivestar Financial s§-;§
1801 Gordon Highway ' ;
Augusta GA 30904-5636

Castle Payday ¥? 53

Red Rock Trihal Lending

P0 Box 704

Watersmeet MI 49969-0704

Drivestar Financial II Inc dba CNAC if ~A;
1285 Cassat Avenue l ”
Jacksonville FL 32205~7083

Georgia Depa:tment of Revenue §%_
1800 Century Center Blvd NE '
Atlanta GA 30345

LCA kit
PO Box 15519

Savannah GA 31416-2219

ip)coNTINENTAL FINANCE comm LLc gee
Po sex 8099 ' '
NEWARK DE 19714-3099

effice of the U. S. Trustee §§
Johnson Square Business Center:
2 East Bryan Street, Ste 725
Savannah, GA 31401-2638

(p)T MOBILE ?‘< .V

c 0 MERICAN INFosoURcE LP
4515 N SANTA FE AVE
0KLAHOMA cITY 01< 73118-7901

Wdlkar Realty §§ ¥Y
2479 Wrightsboro Read
Augusta GA 30904-6245

AARGON Collection '1
0668 Spring Hountain Road
Las Vegas NV 09117-4132

Capital One Auto ?inance §§ ¥?
c/o Ascension Capital Group/AIS

4515 N Santa ?e Avenue Dept APS

Oklahoma City GK 73118-7901

Comenity Bank
PO Box 132789
Columbus OH 43218-2789

First Premier Bank §L
601 S Minnesota Avenue
Sioux Falls SD 57104-4868

Internal Revenue Service tzr
PO Box 7345
Philadelphia PA 19101-7346

LCA Services §§
10 Park of Commerce Blvd
Savannah GA 31405-7410

Merchan Credit Bureau §§
PO Box 1588
Augusta GA 30903-1588

Rimtyme Custom Wheels/Magic Wheel §§ §§
3595 Vienville Avenue
Macon GA 31204-1882

(p]TMX FINANCE LLC FORMERLY TITLEMAX %§:§§
15 BULL STREET

SUITE 200

SAVANNAB GA 31401-2685

Webbank Fingerhut \
6250 Ridgewood Road
Saint Cloud MN 56303-0820

**_A )< i/§§'ifz =;i fi:i

ma n

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AT&T
PO Box 5093
Carol Stream IL 60197-5093

Capital One Auto/Ascension Capital/AIS
3901 Dallas Parkway ~5¢:-§&
Plano TX 75093~7864

Dept of Education-Navient §¥¢
PO Box 9535
Wilkes Barre PA 10773-9635

Fred B. Johnson, Jr. }§'
1906 Lloyd Street
Angusta GA 30906-2046

Joseph E. Sn;£g§,'””/
Ward and S ` esf LLC
t sta, GA 30903-1493

HllOD LE
P.O. BO 27
Au , GA 30903-2127

Merchants Credit Bureau bi§*
959-61 Greene Street
hugusta GA 30901

Seymour & Associates :?3`3&
101 Rossmore Place

Ste b

Augusta GA 30909-5?72

Verizon Wireless §§
PO Box 49
Lakeland FL 33802-0049

medical payment data if
2001 ch Avenue

Suite 312

Vero Beach FL 32960-6413

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Tne preferred mailing address (p) above has been substituted for the following entity/entities as so specified
by said entity/entities in a Notice of Addxess filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4].

MABT/ContFin if di T-MObile 55 Titlemax of Georgia Y&¥
121 Continental Drive PO Box 742596 15 Bull Street

Ste 1 Cincinnati OH 45274 #200

Newark DE 19713 Savannah C~.L. 31401

The following recipients may lie/have been bypassed for notice due to an undeliverahle (u) or duplicate (d) address

(d}Fred B. Johnson Jr. “-?< (d}Joseph Eé/Sg.vrs/ End of Label Matrix
1906 Lloyd Street Ward & Sp' s, LLC Mailable recipients 29

Augusta, GA 30906-2046 P 0 1493 Bypassed recipients 2
gusta, GA 30903-1493 Total 31

